














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


					




NO. PD-0795-12





KEITHIAN LATODD BROWN, Appellant


											

v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


 FROM THE FIFTH COURT OF APPEALS


DALLAS  COUNTY






	Per curiam.  Keasler and hervey, JJ., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.5,
because the petition is longer than fifteen (15) pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.


Filed: October 10,  2012

Do Not Publish.


